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                     Exhibit D
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                                           ‭January 24, 2025‬

‭ .S. DOGE Service‬
U
‭℅ Office of Management and Budget‬
 ‭725 17th Street NW, Suite 9272‬
  ‭Washington, DC 20503‬

‭Re: Expedited Freedom of Information Act Request - US DOGE Service‬

‭Dear FOIA Officer:‬

          ‭ itizens for Responsibility and Ethics in Washington (“CREW”) submits this request‬
          C
‭for records pursuant to the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, and United‬
 ‭States Office of Management and Budget (“OMB”) regulations‬‭1‬ ‭to the United States DOGE‬
  ‭Service. Specifically, CREW requests the following records:‬

‭- From November 6, 2024 to the date that this request is processed:‬

      ‭●‬ A         ‭ ll memoranda, directives, or policies regarding changes to the operations of the‬
                    ‭former U.S. Digital Service, now renamed the U.S. DOGE Service per Executive Order‬
                     ‭dated January 20, 2025‬‭2‬
       ‭●‬ ‭Organizational charts for the USDS‬
        ‭●‬ ‭All memoranda, directives, or policies regarding performance evaluations of‬
                      ‭employees of USDS‬
         ‭●‬ ‭All ethics pledges or waivers executed by USDS personnel‬
          ‭●‬ ‭All financial disclosures of USDS personnel‬
           ‭●‬ ‭All communications between OMB personnel and the Trump-Vance transition‬
                       ‭team regarding USDS, including any such communications with USDS personnel‬
            ‭●‬ ‭All communications with the office of the Administrator of the USDS regarding‬
                        ‭actual or potential changes to USDS operations after President Trump assumed‬
                         ‭office on January 20, 2025‬
             ‭●‬ ‭All communications between OMB personnel and USDS personnel‬
              ‭●‬ ‭All communications between the USDS Administrator and USDS staff‬
               ‭●‬ ‭All communications between USDS personnel and personnel of any federal agency‬
                          ‭outside of the Executive Office of the President‬


‭1‬
      ‭On January 24, 2025, CREW contacted the OMB FOIA Requester Service Center to ask how to submit‬
‭ FOIA request to United States DOGE Service. CREW was directed to submit the request through‬
a
‭OMB at ombfoia@omb.eop.gov.‬
 ‭2‬
       ‭The United States DOGE Service was established by executive order on January 20, 2025, through the‬
  ‭ordered reorganization and renaming of the United States Digital Service. Except as otherwise noted‬
   ‭in this request, “USDS” refers to both the United States DOGE Service and the United States Digital‬
    ‭Service.‬


                                                                                                         ‭1‬
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-‭ From August 11, 2014 to the date that this request is processed, all letters and inquiries,‬
 ‭as well as their responses, between USDS and the office of any representative, senator,‬
  ‭committee, subcommittee, working group, or caucus of the United States Congress.‬

‭- From January 1, 2014 to January 19, 2025:‬

    ‭‬ O
    ●         ‭ rganizational charts for the USDS‬
    ‭●‬ ‭Memoranda, directives, and policies regarding the scope of USDS's legal authority‬
     ‭●‬ ‭Memoranda, directives, and policies regarding the scope of USDS's work with other‬
              ‭federal agencies, including how USDS tracked its work with other federal agencies‬
      ‭●‬ ‭All documents regarding USDS's total budget and expenditures in fiscal years 2014,‬
               ‭2015, 2016, 2017, 2018, 2019, 2020, 2021, 2022, 2023, 2024, or 2025‬
       ‭●‬ ‭All documents regarding funding requests or justifications that related to or‬
                ‭included USDS operations‬
        ‭●‬ ‭All ethics pledges or waivers executed by USDS personnel‬
         ‭●‬ ‭All financial disclosures of USDS personnel‬

            ‭Please search for responsive records regardless of format, medium, or physical‬
‭ haracteristics. We seek records of any kind, including paper records, electronic records,‬
c
‭audiotapes, videotapes, photographs, data, and graphical material. Our request includes‬
 ‭without limitation all correspondence, letters, emails, text messages, facsimiles, telephone‬
  ‭messages, voice mail messages, and transcripts, notes, or minutes of any meetings,‬
   ‭telephone conversations, or discussions. Our request also includes any attachments to‬
    ‭emails and other records, and anyone who was cc’ed or bcc’ed on any emails.‬

             ‭If it is your position any portion of the requested records is exempt from disclosure,‬
‭ REW requests that you provide it with an index of those documents as required under‬
C
‭Vaughn v. Rosen‬‭, 484 F.2d 820 (D.C. Cir. 1973). If‬‭some portions of the requested records are‬
 ‭properly exempt from disclosure, please disclose any reasonably segregable non-exempt‬
  ‭portions of the requested records.‬‭See‬‭5 U.S.C. §‬‭552(b). If it is your position that a document‬
   ‭contains non-exempt segments, but that those non-exempt segments are so dispersed‬
    ‭throughout the document as to make segregation impossible, please state what portion of‬
     ‭the document is non-exempt, and how the material is dispersed throughout the document‬‭.‬
      ‭See Mead Data Central v. U.S. Dep’t of the Air Force‬‭,‬‭566 F.2d 242, 261 (D.C. Cir. 1977).‬

         ‭Please be advised that CREW intends to pursue all legal remedies to enforce its rights‬
‭ nder FOIA. Accordingly, because litigation is reasonably foreseeable, the agency should‬
u
‭institute an agency wide preservation hold on all documents potentially responsive to this‬
 ‭request.‬

                                ‭Request for Expedited Processing‬

            ‭CREW requests expedited processing of this request pursuant to FOIA, 5 U.S.C. § 552‬
‭ nd 5 C.F.R. 1303.40(e). CREW is entitled to expedited processing because (1) “[t]here is an‬
a
‭urgency to inform the public about an actual or alleged Federal Government activity,”‬‭id.‬‭§‬
 ‭1303.40(e)(1)(ii) and CREW “is primarily engaged in disseminating information,” 28 C.F.R. §‬
  ‭16.5(e)(1)(ii); ,‬‭and (2) “[t]here are possible questions,‬‭in a matter of widespread and‬
   ‭exceptional public interest, about the Government’s integrity which affect public‬
    ‭confidence,”‬‭id.‬‭§ 1303.40(e)(1)(iv).‬


                                                                                                      ‭2‬
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             ‭(1)‬ ‭CREW is “primarily engaged in disseminating information” to the public. This‬
                    ‭“standard ‘requires that information dissemination be the main [and not‬
                     ‭merely an incidental] activity of the requestor,’” but “publishing information‬
                      ‭‘need not be [the organization’s] sole occupation.’”‬‭Protect Democracy Project,‬
                       ‭Inc. v. U.S. Dep't of Def.‬‭, 263 F. Supp. 3d 293, 298‬‭(D.D.C. 2017). CREW routinely‬
                        ‭disseminates information obtained through FOIA to the public in several‬
                         ‭ways. For example, CREW’s website receives hundreds of thousands of page‬
                          ‭views every month. The website includes blogposts that report on and analyze‬
                           ‭newsworthy developments regarding government ethics, corruption, and‬
                            ‭money in politics, as well as numerous reports CREW has published to‬
                             ‭educate the public about these issues. These reports frequently rely on‬
                              ‭government records obtained through FOIA. CREW also posts the documents‬
                               ‭it obtains through FOIA on its website. CREW is a credible requestor and‬
                                ‭disseminator of information often relied on by major media outlets.‬‭3‬

                  ‭ n January 20, 2025, President Trump issued three executive orders‬
                  O
                  ‭establishing and directing the activities of the United States DOGE Service‬
                   ‭(“DOGE Service”). The first executive order was entitled‬‭Establishing and‬
                    ‭Implementing the President’s “Department of Government Efficiency‬‭” (the‬
                     ‭“DOGE Order”).‬‭4‬ ‭It ordered the reorganization and‬‭renaming of the United‬
                      ‭States Department of Digital Service (“Digital Service”) that had been within‬
                       ‭OMB’s Office of E-Government and Information Technology to establish the‬
                        ‭(“DOGE Service”) within the Executive Officer of the President, so that the‬
                         ‭DOGE could “implement the President’s DOGE Agenda, by modernizing‬
                          ‭Federal technology and software to maximize governmental efficiency and‬
                           ‭productivity” and directs the DOGE Service administrator to “commence a‬
                            ‭Software Modernization Initiative to improve the quality and efficiency of‬
                             ‭government-wide software, network infrastructure, and information‬
                              ‭technology (IT) systems” and to “work with Agency Heads to promote‬
                               ‭inter-operability between agency networks and systems, ensure data‬
                                ‭integrity, and facilitate responsible data collection and synchronization.”‬‭5‬

                  ‭ he second executive order was entitled‬‭Reforming‬‭the Federal Hiring Process‬
                  T
                  ‭and Restoring Merit to Government Service‬‭and directed‬‭the administrator of‬
                   ‭the DOGE Service, along with the Director of OMB and the Director of the‬
                    ‭Office of Personnel Management (“OPM”), to consult with the Assistant to the‬

‭3‬
              ‭See, e.g.‬‭,‬‭Citizens for Responsibility and Ethics‬‭in Washington‬‭, N.Y. Times,‬
‭ ttps://www.nytimes.com/topic/citizens-for-responsibility-and-ethics-in-washington (last visited‬
h
‭Nov. 20, 2024) (list of numerous New York Times articles referencing CREW spanning over a decade);‬
 ‭Ed Pilkington and Dharna Noor,‬‭Top US ethics watchdog‬‭investigating Trump over dinner with oil‬
  ‭bosses‬‭, The Guardian (May 15, 2024),‬
   ‭https://www.theguardian.com/us-news/article/2024/may/15/ethics-watchdog-investigating-trump-bi‬
    ‭g-oil (referring to CREW as “Top US ethics watchdog”).‬
     ‭4‬
               ‭Exec. Order,‬‭Establishing and Implementing the President’s‬‭“Department of Government Efficiency‬‭,”‬
      ‭( Jan. 20, 2025),‬
       ‭https://www.whitehouse.gov/presidential-actions/2025/01/establishing-and-implementing-the-presi‬
        ‭dents-department-of-government-efficiency/‬‭.‬
         ‭5‬
             ‭Id.‬


                                                                                                                    ‭3‬
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                   ‭ resident for Domestic Policy to develop “a Federal Hiring Plan that brings to‬
                   P
                   ‭the Federal workforce only highly skilled Americans dedicated to the‬
                    ‭furtherance of American ideals, values, and interests.”‬‭6‬ ‭The third executive‬
                     ‭order was entitled‬‭Hiring Freeze‬‭(this executive order‬‭and‬‭Reforming the‬
                      ‭Federal Hiring Process and Restoring Merit to Government Service‬‭are referred‬
                       ‭collectively below as the “Federal Hiring Orders”) that directed the Director of‬
                        ‭OMB to consult with the administrator of DOGE and Director of OPM to‬
                         ‭“submit a plan to reduce the size of the Federal Government’s workforce‬
                          ‭through efficiency improvements and attrition.”‬‭7‬

                   ‭ he DOGE Order and Federal Hiring Orders come after then President-elect‬
                   T
                   ‭Trump’s announcement on November 13, 2024 the formation of the‬
                    ‭“Department of Government Efficiency” (“DOGE”).‬‭8‬ ‭The announcement stated‬
                     ‭that Elon Musk and Vivek Ramaswamy would lead DOGE and that its mission‬
                      ‭would be to “pave the way for [Trump’s] administration to dismantle‬
                       ‭Government Bureaucracy, slash excess regulations, cut wasteful‬
                        ‭expenditures, and restructure Federal Agencies.”‬‭9‬ ‭Musk and Ramaswamy‬
                         ‭explained their vision for DOGE in a piece that they published in the Wall‬
                          ‭Street Journal in which they said that DOGE will “‬‭work‬‭in the new‬
                           ‭administration closely with the White House Office of Management and‬
                            ‭Budget.‬‭10‬ ‭Their public statements, as well as social‬‭media accounts purporting‬
                             ‭to belong to DOGE, indicated that they began to undertake work on its behalf‬
                              ‭before President Trump took office.‬‭11‬

                   ‭ he Trump administration’s actions since he was inaugurated on January 20‬
                   T
                   ‭indicate that the implementation of his “DOGE agenda” referenced in the‬
                    ‭DOGE Order is well underway, as it has already taken steps to freeze federal‬
                     ‭hiring,‬‭12‬ ‭eliminate civil service protections from‬‭large numbers of public‬
                      ‭employees,‬‭13‬ ‭eliminate protections from discrimination‬‭in the federal‬


‭6‬
                     ‭Exec. Order,‬‭Reforming the Federal Hiring Process and Restoring Merit to Government Service‬‭( Jan. 20,‬
‭ 025),‬
2
‭https://www.whitehouse.gov/presidential-actions/2025/01/reforming-the-federal-hiring-process-an‬
 ‭d-restoring-merit-to-government-service/‬‭.‬
  ‭7‬
                   ‭Exec. Order,‬‭Hiring Freeze‬‭( Jan. 20, 2025),‬
   ‭https://www.whitehouse.gov/presidential-actions/2025/01/hiring-freeze/‬‭.‬
    ‭8‬
                      ‭@realDonaldTrump, X (Nov. 13, 2024),‬‭https://x.com/realDonaldTrump/status/1856658569124262092‬‭.‬
     ‭9‬
                    ‭Id.‬
      ‭10‬
                          ‭Elon Musk & Vivek Ramaswamy,‬‭Elon Musk and Vivek‬‭Ramaswamy: The DOGE Plan to Reform‬
       ‭Government‬‭, WSJ (Nov. 20, 2024),‬
        ‭https://www.wsj.com/opinion/musk-and-ramaswamy-the-doge-plan-to-reform-government-supre‬
         ‭me-court-guidance-end-executive-power-grab-fa51c020?mod=hp_opin_pos_0‬‭.‬
          ‭11‬
                       ‭See generally‬‭Elizabeth Dwoskin, Jeff Stein, Jacob‬‭Bogage and Faiz Siddiqui,‬‭Musk and Ramaswamy‬
           ‭race to build a ‘DOGE’ team for war with Washington‬‭,‬‭Wash. Post (Dec. 4, 2024),‬
            ‭https://www.washingtonpost.com/business/2024/11/24/musk-ramaswamy-doge-trump/‬‭.‬
             ‭12‬
                        ‭Hiring Freeze‬‭, supra note 7.‬
              ‭13‬
                         ‭Exec. Order,‬‭Restoring Accountability to Policy-Influencing‬‭Positions Within the Federal Workforce‬
               ‭( Jan. 20, 2025),‬
                ‭https://www.whitehouse.gov/presidential-actions/2025/01/restoring-accountability-to-policy-influen‬
                 ‭cing-positions-within-the-federal-workforce/‬‭.‬


                                                                                                                             ‭4‬
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                   ‭ orkforce,‬‭14‬ ‭create a plan to permanently reduce the federal workforce,‬‭15‬ ‭and‬
                   w
                   ‭ordered federal diversity, equity, and inclusion on leave.‬‭16‬ ‭At the same time,‬
                    ‭Mr. Musk, who President Trump announced would head DOGE before his‬
                     ‭inauguration, is reportedly working in the West Wing of the White House,‬
                      ‭with a White House email address address, without anyone having been‬
                       ‭named the administrator of the DOGE Service, while legacy Digital Service‬
                        ‭employees are being forced to interview for their current positions.‬‭17‬

                   ‭ t the same time, public reporting indicates that the DOGE Service may be‬
                   A
                   ‭acting beyond its legal authority. As described above, the DOGE Order created‬
                    ‭the DOGE Service to “moderniz[e] Federal technology and software to‬
                     ‭maximize governmental efficiency and productivity” and directs the DOGE‬
                      ‭Service administrator to “commence a Software Modernization Initiative to‬
                       ‭improve the quality and efficiency of government-wide software, network‬
                        ‭infrastructure, and information technology (IT) systems” and to “work with‬
                         ‭Agency Heads to promote inter-operability between agency networks and‬
                          ‭systems, ensure data integrity, and facilitate responsible data collection and‬
                           ‭synchronization.”‬‭18‬ ‭The DOGE Order further created‬‭the DOGE Service as a‬
                            ‭“temporary organization” pursuant to 5 U.S.C. § 3161, which limits the purpose‬
                             ‭of any such temporary organization to “the purpose of performing‬‭a‬‭specific‬
                              ‭study or other project.” 5 U.S.C. § 3161(a)(1). Public reporting indicates that the‬
                               ‭DOGE Service is nevertheless operating well outside this defined legal‬
                                ‭authority by, for example, exerting pressure on federal judges, through the‬
                                 ‭United States Marshals Service, to speed up the release of pardoned criminals‬
                                  ‭and criminal defendants who were convicted or arrested for their roles in the‬
                                   ‭January 6, 2021 attack on the Capitol.‬‭19‬

‭14‬
                         ‭Exec. Order,‬‭Ending Illegal Discrimination and Restoring Merit-Based Opportunity‬‭( Jan. 20, 2025),‬
‭ ttps://www.whitehouse.gov/presidential-actions/2025/01/ending-illegal-discrimination-and-restori‬
h
‭ng-merit-based-opportunity/‬‭.‬
 ‭15‬
                        ‭Reforming Federal Hiring‬‭, supra note 6.‬
  ‭https://www.whitehouse.gov/presidential-actions/2025/01/reforming-the-federal-hiring-process-an‬
   ‭d-restoring-merit-to-government-service/.‬
    ‭16‬
                           ‭Memorandum, Initial Guidance Regarding DEIA Executive Orders, United States Office of Personnel‬
     ‭Management (Jan. 21, 2025),‬
      ‭https://chcoc.gov/sites/default/files/OPM%20Memo%20Initial%20Guidance%20Regarding%20DEIA%‬
       ‭20Executive%20Orders.pdf‬‭.‬
        ‭17‬
                       ‭Ken Thomas and John McCormick,‬‭Inside the Elon Musk,‬‭Vivek Ramaswamy DOGE Divorce‬‭, WSJ (Jan.‬
         ‭23, 2025),‬
          ‭https://www.wsj.com/politics/elections/inside-the-elon-musk-vivek-ramaswamy-doge-divorce-975a‬
           ‭3d26?mod=article_inline‬‭; Amie Parnes,‬‭Elon Musk already‬‭has a White House email address‬‭, The Hill‬
            ‭( Jan. 20, 2025),‬
             ‭https://thehill.com/homenews/administration/5096177-musk-white-house-email-address/‬‭;‬‭Natalie‬
              ‭Alms,‬‭U.S. Digital Service employees are being re-interviewed‬‭under DOGE transition‬‭, (Jan. 22, 2025),‬
               ‭https://www.nextgov.com/people/2025/01/us-digital-service-employees-are-being-re-interviewed-u‬
                ‭nder-doge-transition/402423/‬‭.‬
                 ‭18‬
                            ‭Establishing DOGE‬‭, supra note 4.‬
                  ‭19‬
                          ‭Ken Thomas and John McCormick,‬‭Inside the Elon Musk,‬‭Vivek Ramaswamy DOGE Divorce‬‭, WSJ (Jan.‬
                   ‭23, 2025),‬
                    ‭https://www.wsj.com/politics/elections/inside-the-elon-musk-vivek-ramaswamy-doge-divorce-975a‬
                     ‭3d26?mod=article_inline‬‭; Amie Parnes,‬‭Elon Musk already‬‭has a White House email address‬‭, The Hill‬


                                                                                                                            ‭5‬
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                   ‭ nder these circumstances, “[t]here is an urgency to inform the public about‬
                   U
                   ‭an actual or alleged Federal Government activity” about which this request‬
                    ‭seeks information, namely the planned and current operations of the DOGE‬
                     ‭Service, its authority, its place in the Executive Office of the President, and the‬
                      ‭facts surrounding the reorganization of the Digital Service to establish the‬
                       ‭DOGE Service, all of which could urgently effect not only 3 million federal‬
                        ‭employees, but the untold number of American citizens who are impacted by‬
                         ‭their work.‬‭See‬‭5 C.F.R. 1303.40(e)(1)(ii).‬

           ‭(2)‬   ‭ he same facts raise “possible questions, in a matter of widespread and‬
                   T
                   ‭exceptional public interest, about the Government’s integrity which affect‬
                    ‭public confidence,”‬‭id.‬‭§ 1303.40(e)(1)(iv). As described‬‭above, President Trump‬
                     ‭has vowed “to dismantle Government Bureaucracy, slash excess regulations,‬
                      ‭cut wasteful expenditures, and restructure Federal Agencies”‬‭20‬ ‭through DOGE‬
                       ‭and has taken affirmative steps to do so,‬‭21‬ ‭but his‬‭administration has offered‬
                        ‭no meaningful information to the public about how the DOGE Service will‬
                         ‭operate, its budget and resources, its staffing, whether those staffing it will be‬
                          ‭federal employees, how those federal employees might be classified, what the‬
                           ‭criteria for employment will be, or whether those associated with it will be‬
                            ‭required to make financial disclosures or abide by federal ethics rules for‬
                             ‭employees. The administration also has not explained what steps, if any, it is‬
                              ‭taking to account for the fact that companies owned by Mr. Musk, who‬
                               ‭President Trump has said would head DOGE and is reportedly working in the‬
                                ‭White House, have more than $3 billion in federal contracts.‬‭22‬ ‭Nor has there‬
                                 ‭been any explanation regarding why reorganizing the Digital Service into the‬
                                  ‭DOGE Service, which is by its terms is tasked with “modernizing Federal‬
                                   ‭technology and software to maximize governmental efficiency and‬
                                    ‭productivity,” is an efficient or appropriate vehicle for decision making that‬
                                     ‭could have a permanent effect on the structure of the executive branch. And,‬
                                      ‭as noted above, public reporting indicates that the DOGE Service is exceeding‬
                                       ‭its legal authority under both the DOGE Order and as a temporary‬
                                        ‭organization under 5 U.S.C. § 3161(a)(1).‬‭23‬ ‭The lack‬‭of public information‬
                                         ‭regarding the DOGE Service’s formation and operations and its apparent‬
                                          ‭reach beyond its legal authority each, and in conjunction, raise significant‬


(‭ Jan. 20, 2025),‬
 ‭https://thehill.com/homenews/administration/5096177-musk-white-house-email-address/‬‭;‬‭Natalie‬
  ‭Alms,‬‭U.S. Digital Service employees are being re-interviewed‬‭under DOGE transition‬‭, (Jan. 22, 2025),‬
   ‭https://www.nextgov.com/people/2025/01/us-digital-service-employees-are-being-re-interviewed-u‬
    ‭nder-doge-transition/402423/‬‭; Ruth Marcus, Pardon‬‭me: What were the folks at DOGE thinking?,‬
     ‭Wash. Post (Jan. 23, 2025),‬
      ‭https://www.washingtonpost.com/opinions/2025/01/23/doge-jan-6-marshals-federal-judges/‬‭.‬
       ‭20‬
                   ‭Id.‬
        ‭21‬
                ‭See infra‬‭at 4.‬
         ‭22‬
                 ‭Eric Lipton, David A. Fahrenthold, Aaron Krolik, and Kirsten Grind,‬‭U.S. Agencies Fund, and Fight‬
          ‭With, Elon Musk. A Trump Presidency Could Give Him Power Over Them.‬‭, NY Times (Oct. 20, 2024),‬
           ‭https://www.nytimes.com/2024/10/20/us/politics/elon-musk-federal-agencies-contracts.html‬‭.‬
            ‭23‬
                  ‭See infra‬‭at 5.‬


                                                                                                                       ‭6‬
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                   ‭ ossible questions of widespread and exceptional public interest regarding‬
                   p
                   ‭the integrity of the work of the DOGE Service.‬

       ‭The undersigned certifies that the representations in the foregoing Request for‬
‭Expedited Processing are true and correct to the best of his knowledge and belief.‬

                                                 ‭Fee Waiver Request‬

              I‭ n accordance with 5 U.S.C. § 552(a)(4)(A) and agency regulations, CREW requests a‬
‭waiver of fees associated with processing this request for records. The subject of this request‬
 ‭concerns the operations of the federal government, and the disclosures likely will contribute‬
  ‭to a better understanding of relevant government procedures by CREW and the general‬
   ‭public in a significant way.‬‭See‬‭id.‬‭§ 552(a)(4)(A)(iii).‬‭Moreover, the request primarily and‬
    ‭fundamentally is for non-commercial purposes.‬‭See,‬‭e.g.‬‭,‬‭McClellan Ecological v. Carlucci‬‭, 835‬
     ‭F.2d 1282, 1285 (9th Cir. 1987).‬

            ‭On November 13, 2024, President-elect Donald Trump announced the formation of‬
‭ OGE.‬‭24‬ ‭The announcement stated that Elon Musk and‬‭Vivek Ramaswamy would lead DOGE‬
D
‭and that its mission would be to “pave the way for [Trump’s] administration to dismantle‬
 ‭Government Bureaucracy, slash excess regulations, cut wasteful expenditures, and‬
  ‭restructure Federal Agencies.”‬‭25‬ ‭Musk and Ramaswamy‬‭explained their vision for DOGE in a‬
   ‭piece that they published in the Wall Street Journal and that they anticipated it working‬
    ‭closely with OMB and public reporting indicated that DOGE began its work, including‬
     ‭contacting federal agencies, during the presidential transition.‬‭26‬

            ‭On January 20, 2025, President Trump issued executive orders establishing the DOGE‬
‭ ervice to “implement the President’s DOGE Agenda, by modernizing Federal technology‬
S
‭and software to maximize governmental efficiency and productivity,” but also ordering the‬
 ‭Assistant to the President for Domestic Policy and Director of OPM to consult with the‬
  ‭administrator of the DOGE Service to develop a federal hiring plan and plan to reduce the‬
   ‭size of the government, respectively.‬‭27‬

       ‭Public reporting indicates that Mr. Musk has begun working in the West Wing of the‬
‭White House and unnamed members of the DOGE Service are re-interviewing DOGE‬




‭24‬
                ‭@realDonaldTrump, X (Nov. 13, 2024),‬
‭https://x.com/realDonaldTrump/status/1856658569124262092‬‭.‬
 ‭25‬
               ‭Id.‬
  ‭26‬
                 ‭Elon Musk & Vivek Ramaswamy,‬‭Elon Musk and Vivek‬‭Ramaswamy: The DOGE Plan to Reform‬
   ‭Government‬‭, WSJ (Nov. 20, 2024),‬
    ‭https://www.wsj.com/opinion/musk-and-ramaswamy-the-doge-plan-to-reform-government-supre‬
     ‭me-court-guidance-end-executive-power-grab-fa51c020?mod=hp_opin_pos_0‬‭;‬‭See generally‬
      ‭Elizabeth Dwoskin, Jeff Stein, Jacob Bogage and Faiz Siddiqui,‬‭Musk and Ramaswamy race to build a‬
       ‭‘DOGE’ team for war with Washington‬‭, Wash. Post (Dec.‬‭4, 2024),‬
        ‭https://www.washingtonpost.com/business/2025/01/10/musk-ramaswamy-doge-federal-agencies/‬‭.‬
         ‭27‬
              ‭Establishing DOGE‬‭, supra note 4;‬‭Reforming Federal‬‭Hiring‬‭, supra note 6;‬‭Hiring Freeze‬‭, supra note 7.‬


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‭ ervice staff for their current positions.‬‭28‬ ‭As described above, the DOGE Order created the‬
S
‭DOGE Service to “moderniz[e] Federal technology and software to maximize governmental‬
 ‭efficiency and productivity” and directs the DOGE Service administrator to “commence a‬
  ‭Software Modernization Initiative to improve the quality and efficiency of government-wide‬
   ‭software, network infrastructure, and information technology (IT) systems” and to “work‬
    ‭with Agency Heads to promote inter-operability between agency networks and systems,‬
     ‭ensure data integrity, and facilitate responsible data collection and synchronization.”‬‭29‬ ‭The‬
      ‭DOGE Order further created the DOGE Service as a “temporary organization” pursuant to 5‬
       ‭U.S.C. § 3161, which limits the purpose of any such temporary organization to “the purpose of‬
        ‭performing a specific study or other project. 5 U.S.C. § 3161(a)(1). Despite this limited purpose‬
         ‭and these statutory constraints, the DOGE Service has reportedly acted beyond its legal‬
          ‭authority by, for example, exerting pressure on federal judges, through the United States‬
           ‭Marshals Service, to speed up the release of pardoned criminals and criminal defendants‬
            ‭who were convicted or arrested for their roles in the January 6, 2021 attack on the Capitol.‬‭30‬

              ‭CREW is a non-profit corporation, organized under section 501(c)(3) of the Internal‬
‭ evenue Code. CREW is committed to protecting the public’s right to be aware of the‬
R
‭activities of government officials, to ensuring the integrity of those officials, and to‬
 ‭highlighting and working to reduce the influence of money on politics. CREW uses a‬
  ‭combination of research, litigation, and advocacy to advance its mission. CREW intends to‬
   ‭analyze the information responsive to this request and to share its analysis with the public‬
    ‭through reports, press releases, or other means. In addition, CREW will disseminate any‬
     ‭documents it acquires from this request to the public through its website,‬
      ‭www.citizensforethics.org‬‭. The release of information‬‭obtained through this request is not‬
       ‭in CREW’s financial interest.‬


‭28‬
                         ‭Ken Thomas and John McCormick,‬‭Inside the Elon Musk,‬‭Vivek Ramaswamy DOGE Divorce‬‭, WSJ (Jan.‬
‭ 3, 2025),‬
2
‭https://www.wsj.com/politics/elections/inside-the-elon-musk-vivek-ramaswamy-doge-divorce-975a‬
 ‭3d26?mod=article_inline‬ ‭Amie Parnes,‬‭Elon Musk already has a White House email address‬‭, The Hill‬
  ‭( Jan. 20, 2025),‬
   ‭https://thehill.com/homenews/administration/5096177-musk-white-house-email-address/‬‭;‬‭Natalie‬
    ‭Alms,‬‭U.S. Digital Service employees are being re-interviewed‬‭under DOGE transition‬‭, (Jan. 22, 2025),‬
     ‭https://www.nextgov.com/people/2025/01/us-digital-service-employees-are-being-re-interviewed-u‬
      ‭nder-doge-transition/402423/‬
       ‭29‬
                          ‭Exec. Order,‬‭Establishing and Implementing the President’s‬‭“Department of Government Efficiency‬‭,”‬
        ‭( Jan. 20, 2025),‬
         ‭https://www.whitehouse.gov/presidential-actions/2025/01/establishing-and-implementing-the-presi‬
          ‭dents-department-of-government-efficiency/‬‭.‬
           ‭30‬
                        ‭Ken Thomas and John McCormick,‬‭Inside the Elon Musk,‬‭Vivek Ramaswamy DOGE Divorce‬‭, WSJ (Jan.‬
            ‭23, 2025),‬
             ‭https://www.wsj.com/politics/elections/inside-the-elon-musk-vivek-ramaswamy-doge-divorce-975a‬
              ‭3d26?mod=article_inline‬ ‭Amie Parnes,‬‭Elon Musk already‬‭has a White House email address‬‭, The Hill‬
               ‭( Jan. 20, 2025),‬
                ‭https://thehill.com/homenews/administration/5096177-musk-white-house-email-address/‬‭;‬‭Natalie‬
                 ‭Alms,‬‭U.S. Digital Service employees are being re-interviewed‬‭under DOGE transition‬‭, (Jan. 22, 2025),‬
                  ‭https://www.nextgov.com/people/2025/01/us-digital-service-employees-are-being-re-interviewed-u‬
                   ‭nder-doge-transition/402423/‬‭.; Ruth Marcus,‬‭Pardon‬‭me: What were the folks at DOGE thinking?‬‭,‬
                    ‭Wash. Post (Jan. 23, 2025),‬
                     ‭https://www.washingtonpost.com/opinions/2025/01/23/doge-jan-6-marshals-federal-judges/‬‭.‬


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           ‭CREW further requests that it not be charged search or review fees for this request‬
‭ ursuant to 5 U.S.C. § 552(a)(4)(A)(ii)(II) because CREW qualifies as a member of the news‬
p
‭media.‬‭See Nat’l Sec. Archive v. U.S. Dep’t of Defense‬‭,‬‭880 F.2d 1381, 1386 (D.C. Cir. 1989) (holding‬
 ‭non-profit a “representative of the news media” and broadly interpreting the term to include‬
  ‭“any person or organization which regularly publishes or disseminates information to the‬
   ‭public”).‬

            ‭CREW routinely disseminates information obtained through FOIA to the public in‬
s‭ everal ways. For example, CREW’s website receives hundreds of thousands of page views‬
 ‭every month. The website includes blogposts that report on and analyze newsworthy‬
  ‭developments regarding government ethics, corruption, and money in politics, as well as‬
   ‭numerous reports CREW has published to educate the public about these issues. These‬
    ‭reports frequently rely on government records obtained through FOIA. CREW also posts the‬
     ‭documents it obtains through FOIA on its website.‬

        ‭Under these circumstances, CREW satisfies fully the criteria for a fee waiver.‬

                                              ‭Conclusion‬

         ‭If you have any questions about this request or foresee any problems in fully‬
r‭ eleasing the requested records, please email‬‭foia@citizensforethics.org‬‭or call (202)‬
 ‭408-5565. Also, if CREW’s request for a fee waiver is denied, please contact our office‬
  ‭immediately upon making such a determination.‬

        ‭ here possible, please produce records in electronic format. Please send the‬
        W
‭requested records to‬‭foia@citizensforethics.org‬‭or‬‭by mail to CREW Staff, Citizens for‬
 ‭Responsibility and Ethics in Washington, P.O. Box 14596, Washington, D.C. 20004.‬

                                                         ‭Sincerely,‬




                                                         J‭ onathan Maier‬
                                                          ‭Senior Litigation Counsel‬
                                                           ‭Citizens for Responsibility and Ethics in‬
                                                            ‭Washington (CREW)‬




                                                                                                         ‭9‬
